                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                   CENTRAL DIVISION

STACY MILLER, individually, and as             )
Plaintiff ad Litem on behalf of                )
decedent Alan Miller,                          )
                                               )
                        Plaintiff,             )
                                               )
v.                                             )
                                               )      Case No. 07-4088-CV-C-SOW
LAKE REGIONAL HEALTH SYSTEM,                   )
INC., et. al.                                  )
                                               )
                        Defendants.            )

                                              ORDER

          Before the Court are a Joint Motion for Dismissal (Doc. #7) and plaintiff’s Motion for

Remand (Doc. #8). Having reviewed the motions, it is hereby

          ORDERED that the Joint Motion for Dismissal (Doc. #7) is granted and the United States

of America is dismissed as a defendant in this matter. It is further

          ORDERED that plaintiff’s Motion for Remand (Doc. #8) is granted and this case is

remanded pursuant to 42 U.S.C. §1447 to the Circuit Court of Camden County, Missouri. It is

further

          ORDERED that the United States of America’s Motion to Dismiss (Doc. #3) is dismissed

as moot.




                                               /s/Scott O. Wright
                                               SCOTT O. WRIGHT
                                               Senior United States District Judge
Dated: May 31, 2007




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